          Case 1:18-cr-00024-DLF Document 30 Filed 10/09/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

         v.
                                                        Criminal No. 1:18-cr-24 (DLF)
 RICHARD PINEDO,

                   Defendant.

       GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       The government, through its undersigned attorneys, submits this supplemental

memorandum pursuant to the Court’s order of October 4, 2018, which directed the parties to

address whether section 2B1.1(b)(2)(A)(i) of the U.S. Sentencing Guidelines applies given the

number of victims in this case. Section 2B1.1(b)(2)(A)(i) calls for a two-level enhancement if the

offense involved 10 or more victims. U.S.S.G. 2B1.1(b)(2)(A)(i).

       Mr. Pinedo has admitted to selling hundreds of bank account numbers to customers through

an online website he operated. (ECF No. 13, ¶ 6). The statement in the Government’s Sentencing

Memorandum that “Mr. Pinedo sold hundreds of real persons’ bank account numbers to

anonymous customers on the internet” (ECF No. 24, at 3) was intended to convey the sales volume

admitted by the defendant in his plea, not the number of affected persons.

       These bank account numbers allowed purchasers to circumvent security measures

employed by online merchants and payment processors. To the government’s knowledge, buyers

could not access the accounts and could not see bank activity directly, including the size of the trial

deposits. Instead, Mr. Pinedo would relay the relevant activity (i.e., the size of the trial deposits

by an online merchant or payment processor) to the buyers by email; the buyer would then be able




                                             Page 1 of 3
          Case 1:18-cr-00024-DLF Document 30 Filed 10/09/18 Page 2 of 3



to satisfy the online merchant’s or payment processor’s security check by confirming the size of

the trial deposit. (ECF No. 13, ¶ 3). 1

       Based on the government’s investigation, Mr. Pinedo operated his scheme from

approximately 2014 through 2017. During 2014 and 2015, Mr. Pinedo sold bank account numbers

opened in his own name. (ECF No. 13, ¶ 2; ECF No. 25, at 4). Ultimately, however, Mr. Pinedo’s

credit rating degraded to the point that he could no longer open any accounts. At that time, Mr.

Pinedo began to purchase bank account numbers from third-party sellers, which he resold at a

higher price through his website. (ECF No. 13, ¶¶ 2, 5).

       The government’s investigation determined that some of the bank account numbers Mr.

Pinedo bought and resold were for accounts opened in the names of U.S. persons who appeared to

be the victims of identity theft. For example, the investigation determined that eighteen bank

accounts connected to this scheme were opened at a single financial institution in the name (and

using the social security number) of a single U.S. victim living in North Carolina. Similarly, the

investigation determined that twenty-one bank accounts were opened at a single financial

institution in the name (and using the social security number) of a second U.S. victim living in Las

Vegas, and ten bank accounts were opened at the same financial institution in the name of a third

U.S. victim living in Texas. Moreover, records suggest that some accounts were sold multiple

times to bypass security measures (as evidenced by multiple trial balances). 2




1
  According to Mr. Pinedo, on many occasions he himself did not have direct access to the bank
accounts and instead received the information from an “upstream” seller, from whom he bought
the account numbers and resold for a profit. Mr. Pinedo would receive the relevant information
by email or chat and then forward that information to the end purchaser.
2
 Due to incomplete records, it is unclear if all of these accounts were sold to and resold by Mr.
Pinedo, or whether the seller upstream to Mr. Pinedo sold them to multiple people.


                                            Page 2 of 3
          Case 1:18-cr-00024-DLF Document 30 Filed 10/09/18 Page 3 of 3



        For some accounts, the government has not been able to identify the relationship of the

“account holder” (i.e., the person in whose name the account was opened) to the scheme. For

example, one financial institution could not produce records related to some of the accounts in

question. 3 For others, the accounts show activity besides the “trial balance” activity connected to

verification processes used by merchants and payment processors; it is unclear if the account

holders were complicit in the scheme (such as Pinedo was when he sold accounts in his own name)

or the victims of identity theft.

        For these reasons, while the evidence establishes Mr. Pinedo sold more than ten or more

bank accounts, the current record does not establish that Mr. Pinedo’s actions involved ten or more

victims, as defined by Section 2B1.1(b)(2)(A)(i).

Dated: October 9, 2018
                                              Respectfully submitted,

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3
  The government believes these accounts were flagged as fraudulent while still being processed
for opening; therefore, while a bank account number was issued, they were never formally opened
at the institution, and the account holder information was purged as a security measure.


                                            Page 3 of 3
